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      Attorneys for Defendants
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      Los Angeles County Probation Department),
  7   Terri L. McDonald (erroneously sued herein as
      Teri L. McDonald), and James Huddleston
  8
  9                        UNITED STATES DISTRICT COURT
 10                      CENTRAL DISTRICT OF CALIFORNIA
 11
 12   CLAUDETTE REYNOLDS; MARIA                 )   Case No.: 2:21-cv-01925-DMG-E
      ASUZENA GUERRERO; and
      KARNESHA MARSHALL,                        )   STIPULATED PROTECTIVE
 13
                                                )   ORDER
 14               Plaintiffs,                   )
                                                    PTC: July 12, 2022
 15         vs.                                 )
                                                    Trial: August 9, 2022
      JAMES HUDDLESTON; TERI L.                 )
 16                                             )
      MCDONALD; LOS ANGELES                         MATTER FOR DETERMINATION
 17   COUNTY PROBATION                          )   BEFORE THE HONORABLE
      DEPARTMENT; and DOES 1 through                CHARLES F. EICK
      50, inclusive,                            )
 18
                                                )
 19               Defendants.                   )
 20                                             )

 21
 22   1.    A. PURPOSES AND LIMITATIONS
 23         Discovery in this action will involve production of confidential,
 24   proprietary, or private information for which special protection from public
 25   disclosure and from use for any purpose other than prosecuting this litigation may
 26   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
 27   enter the following Stipulated Protective Order. The parties acknowledge that this
 28   Order does not confer blanket protections on all disclosures or responses to

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  1   discovery and that the protection it affords from public disclosure and use extends
  2   only to the limited information or items that are entitled to confidential treatment
  3   under the applicable legal principles. The parties further acknowledge, as set forth
  4   in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
  5   file confidential information under seal; Civil Local Rule 79-5 sets forth the
  6   procedures that must be followed and the standards that will be applied when a party
  7   seeks permission from the court to file material under seal.
  8         B. GOOD CAUSE STATEMENT
  9         The Parties will exchange documents, video footage, and materials pertaining
 10   to non-parties who were minors (“Minors”). The broad or public dissemination of
 11   the Minors’ information is substantially likely to cause harm to the privacy rights of
 12   the Minors. In addition, this action is likely to involve the exchange of confidential
 13   and/or official documents, items, materials, or information regarding secure,
 14   juvenile custodial facilities, which derives actual or potential value from not being
 15   generally known to the public and are the subject of reasonable efforts to maintain
 16   their confidentiality. Such confidential materials and information consist of, among
 17   other things, information regarding confidential operations practices, video footage,
 18   photographs, or documents containing highly personal information (i.e., names,
 19   social security numbers, and birth dates) of Minors, as well as documents related to
 20   the investigation of possible criminal conduct by Minors, Plaintiffs, and other Non-
 21   Parties (including information further implicating privacy rights of third parties),
 22   information otherwise generally unavailable to the public, or which may be
 23   privileged or otherwise protected from disclosure under state or federal statutes,
 24   court rules, case decisions, or common law.
 25         Accordingly, to expedite the flow of information, to facilitate the prompt
 26   resolution of disputes over confidentiality of discovery materials, to adequately
 27   protect information the parties are entitled to keep confidential, to ensure that the
 28   parties are permitted reasonable necessary uses of such material in preparation for

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  1   and in the conduct of trial, to address their handling at the end of the litigation, and
  2   serve the ends of justice, a protective order for such information is justified in this
  3   matter. It is the intent of the parties that information will not be designated as
  4   confidential for tactical reasons and that nothing be so designated without a good
  5   faith belief that it has been maintained in a confidential, non-public manner, and
  6   there is good cause why it should not be part of the public record of this case.
  7   2.     DEFINITIONS
  8          2.1     Action: this pending federal law suit.
  9          2.2     Challenging Party: a Party or Non-Party that challenges the
 10   designation of information or items under this Order.
 11          2.3     “CONFIDENTIAL” Information or Items: information (regardless of
 12   how it is generated, stored or maintained) or tangible things that qualify for
 13   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
 14   the Good Cause Statement.
 15          2.4     Counsel: Outside Counsel of Record and In-House Counsel (as well as
 16   their support staff).
 17          2.5     Designating Party: a Party or Non-Party that designates information or
 18   items that it produces in disclosures or in responses to discovery as
 19   “CONFIDENTIAL.”
 20          2.6     Disclosure or Discovery Material: all items or information, regardless
 21   of the medium or manner in which it is generated, stored, or maintained (including,
 22   among other things, video footage, interviews, testimony, transcripts, and tangible
 23   things), that are produced or generated in disclosures or responses to discovery in
 24   this matter.
 25          2.7     Expert: a person with specialized knowledge or experience in a matter
 26   pertinent to the litigation who has been retained by a Party or its counsel to serve as
 27   an expert witness or as a consultant in this Action.
 28          2.8     In-House Counsel: attorneys who are employees of a party to this

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  1   Action. In-House Counsel does not include Outside Counsel of Record or any other
  2   outside counsel.
  3         2.9    Non-Party: any natural person, partnership, corporation, association, or
  4   other legal entity not named as a Party to this action.
  5         2.10 Outside Counsel of Record: attorneys who are not employees of a
  6   party to this Action but are retained to represent or advise a party to this Action and
  7   have appeared in this Action on behalf of that party or are affiliated with a law firm
  8   which has appeared on behalf of that party, and includes support staff.
  9         2.11 Party: any party to this Action, including all of its officers, directors,
 10   employees, consultants, retained experts, and Outside Counsel of Record (and their
 11   support staffs).
 12         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
 13   Discovery Material in this Action.
 14         2.13 Professional Vendors: persons or entities that provide litigation
 15   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
 16   demonstrations, and organizing, storing, or retrieving data in any form or medium)
 17   and their employees and subcontractors.
 18         2.14 Protected Material: any Disclosure or Discovery Material that is
 19   designated as “CONFIDENTIAL.”
 20         2.15 Receiving Party: a Party that receives Disclosure or Discovery
 21   Material from a Producing Party.
 22   3.    SCOPE
 23         The protections conferred by this Stipulation and Order cover not only
 24   Protected Material (as defined above), but also (1) any information copied or
 25   extracted from Protected Material; (2) all copies, excerpts, summaries, or
 26   compilations of Protected Material; and (3) any testimony, conversations, or
 27   presentations by Parties or their Counsel that might reveal Protected Material. Any
 28   use of Protected Material at trial shall be governed by the orders of the trial judge.

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  1   This Order does not govern the use of Protected Material at trial.
  2   4.    DURATION
  3         Even after final disposition of this litigation, the confidentiality obligations
  4   imposed by this Order shall remain in effect until a Designating Party agrees
  5   otherwise in writing or a court order otherwise directs. Final disposition shall be
  6   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
  7   or without prejudice; and (2) final judgment herein after the completion and
  8   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  9   including the time limits for filing any motions or applications for extension of time
 10   pursuant to applicable law.
 11   5.    DESIGNATING PROTECTED MATERIAL
 12         5.1    Exercise of Restraint and Care in Designating Material for Protection.
 13   Each Party or Non-Party that designates information or items for protection under
 14   this Order must take care to limit any such designation to specific material that
 15   qualifies under the appropriate standards. The Designating Party must designate for
 16   protection only those parts of material, documents, items, or oral or written
 17   communications that qualify so that other portions of the material, documents,
 18   items, or communications for which protection is not warranted are not swept
 19   unjustifiably within the ambit of this Order.
 20         Mass, indiscriminate, or routinized designations are prohibited. Designations
 21   that are shown to be clearly unjustified or that have been made for an improper
 22   purpose (e.g., to unnecessarily encumber the case development process or to impose
 23   unnecessary expenses and burdens on other parties) may expose the Designating
 24   Party to sanctions.
 25         If it comes to a Designating Party’s attention that information or items that it
 26   designated for protection do not qualify for protection, that Designating Party must
 27   promptly notify all other Parties that it is withdrawing the inapplicable designation.
 28         5.2    Manner and Timing of Designations. Except as otherwise provided in

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  1   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
  2   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  3   under this Order must be clearly so designated before the material is disclosed or
  4   produced.
  5         Designation in conformity with this Order requires:
  6         (a) for information in documentary form (e.g., paper or electronic
  7   documents, but excluding transcripts of depositions or other pretrial or trial
  8   proceedings), that the Producing Party affix at a minimum, the legend
  9   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
 10   contains protected material. If only a portion or portions of the material on a page
 11   qualifies for protection, the Producing Party also must clearly identify the protected
 12   portion(s) (e.g., by making appropriate markings in the margins).
 13         A Party or Non-Party that makes original documents available for inspection
 14   need not designate them for protection until after the inspecting Party has indicated
 15   which documents it would like copied and produced. During the inspection and
 16   before the designation, all of the material made available for inspection shall be
 17   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
 18   documents it wants copied and produced, the Producing Party must determine which
 19   documents, or portions thereof, qualify for protection under this Order. Then, before
 20   producing the specified documents, the Producing Party must affix the
 21   “CONFIDENTIAL legend” to each page that contains Protected Material. If only a
 22   portion or portions of the material on a page qualifies for protection, the Producing
 23   Party also must clearly identify the protected portion(s) (e.g., by making appropriate
 24   markings in the margins).
 25         (b) for testimony given in depositions that the Designating Party identify
 26   the Disclosure or Discovery Material on the record, before the close of the
 27   deposition all protected testimony.
 28         (c) for information produced in some form other than documentary and

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  1   for any other tangible items, that the Producing Party affix in a prominent place on
  2   the exterior of the container or containers in which the information is stored the
  3   legend “CONFIDENTIAL.” If only a portion or portions of the information
  4   warrants protection, the Producing Party, to the extent practicable, shall identify the
  5   protected portion(s).
  6         5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent
  7   failure to designate qualified information or items does not, standing alone, waive
  8   the Designating Party’s right to secure protection under this Order for such material.
  9   Upon timely correction of a designation, the Receiving Party must make reasonable
 10   efforts to assure that the material is treated in accordance with the provisions of this
 11   Order.
 12   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
 13         6.1    Timing of Challenges. Any Party or Non-Party may challenge a
 14   designation of confidentiality at any time that is consistent with the Court’s
 15   Scheduling Order.
 16         6.2    Meet and Confer. The Challenging Party shall initiate the dispute
 17   resolution process under Local Rule 37.1 et seq.
 18         6.3    The burden of persuasion in any such challenge proceeding shall be on
 19   the Designating Party. Frivolous challenges, and those made for an improper
 20   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
 21   parties) may expose the Challenging Party to sanctions. Unless the Designating
 22   Party has waived or withdrawn the confidentiality designation, all parties shall
 23   continue to afford the material in question the level of protection to which it is
 24   entitled under the Producing Party’s designation until the Court rules on the
 25   challenge.
 26   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
 27         7.1    Basic Principles. A Receiving Party may use Protected Material that is
 28   disclosed or produced by another Party or by a Non-Party in connection with this

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  1   Action only for prosecuting, defending, or attempting to settle this Action. Such
  2   Protected Material may be disclosed only to the categories of persons and under the
  3   conditions described in this Order. When the Action has been terminated, a
  4   Receiving Party must comply with the provisions of section 13 below (FINAL
  5   DISPOSITION).
  6         Protected Material must be stored and maintained by a Receiving Party at a
  7   location and in a secure manner that ensures that access is limited to the persons
  8   authorized under this Order.
  9         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
 10   otherwise ordered by the court or permitted in writing by the Designating Party, a
 11   Receiving Party may disclose any information or item designated
 12   “CONFIDENTIAL” only to:
 13         (a) the Receiving Party’s Outside Counsel of Record in this Action, as
 14   well as employees of said Outside Counsel of Record to whom it is reasonably
 15   necessary to disclose the information for this Action;
 16         (b) the officers, directors, and employees (including House Counsel) of
 17   the Receiving Party to whom disclosure is reasonably necessary for this Action;
 18         (c) Experts (as defined in this Order) of the Receiving Party to whom
 19   disclosure is reasonably necessary for this Action and who have signed the
 20   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 21         (d) the Court and its personnel;
 22         (e) court reporters and their staff;
 23         (f) professional jury or trial consultants, mock jurors, and Professional
 24   Vendors to whom disclosure is reasonably necessary for this Action and who have
 25   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 26         (g) the author or recipient of a document containing the information or a
 27   custodian or other person who otherwise possessed or knew the information;
 28         (h) during their depositions, witnesses, and attorneys for witnesses, in the

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  1   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
  2   requests that the witness sign the form attached as Exhibit A hereto; and (2) they
  3   will not be permitted to keep any confidential information unless they sign the
  4   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
  5   agreed by the Designating Party or ordered by the court. Pages of transcribed
  6   deposition testimony or exhibits to depositions that reveal Protected Material may
  7   be separately bound by the court reporter and may not be disclosed to anyone except
  8   as permitted under this Stipulated Protective Order; and
  9         (i) any mediator or settlement officer, and their supporting personnel,
 10   mutually agreed upon by any of the parties engaged in settlement discussions.
 11   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
 12   IN OTHER LITIGATION
 13         If a Party is served with a subpoena or a court order issued in other litigation
 14   that compels disclosure of any information or items designated in this Action as
 15   “CONFIDENTIAL,” that Party must:
 16         (a) promptly notify in writing the Designating Party. Such notification
 17   shall include a copy of the subpoena or court order;
 18         (b) promptly notify in writing the party who caused the subpoena or order
 19   to issue in the other litigation that some or all of the material covered by the
 20   subpoena or order is subject to this Protective Order. Such notification shall include
 21   a copy of this Stipulated Protective Order; and
 22         (c) cooperate with respect to all reasonable procedures sought to be
 23   pursued by the Designating Party whose Protected Material may be affected.
 24         If the Designating Party timely seeks a protective order, the Party served with
 25   the subpoena or court order shall not produce any information designated in this
 26   action as “CONFIDENTIAL” before a determination by the court from which the
 27   subpoena or order issued, unless the Party has obtained the Designating Party’s
 28   permission. The Designating Party shall bear the burden and expense of seeking

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   1   protection in that court of its confidential material and nothing in these provisions
   2   should be construed as authorizing or encouraging a Receiving Party in this Action
   3   to disobey a lawful directive from another court.
   4   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
   5   PRODUCED IN THIS LITIGATION
   6         (a) The terms of this Order are applicable to information produced by a
   7   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
   8   produced by Non-Parties in connection with this litigation is protected by the
   9   remedies and relief provided by this Order. Nothing in these provisions should be
  10   construed as prohibiting a Non-Party from seeking additional protections.
  11         (b) In the event that a Party is required, by a valid discovery request, to
  12   produce a Non-Party’s confidential information in its possession, and the Party is
  13   subject to an agreement with the Non-Party not to produce the Non-Party’s
  14   confidential information, then the Party shall:
  15                (1) promptly notify in writing the Requesting Party and the Non-Party
  16   that some or all of the information requested is subject to a confidentiality
  17   agreement with a Non-Party;
  18                (2) promptly provide the Non-Party with a copy of the Stipulated
  19   Protective Order in this Action, the relevant discovery request(s), and a reasonably
  20   specific description of the information requested; and
  21                (3) make the information requested available for inspection by the
  22   Non-Party, if requested.
  23         (c) If the Non-Party fails to seek a protective order from this court within
  24   14 days of receiving the notice and accompanying information, the Receiving Party
  25   may produce the Non-Party’s confidential information responsive to the discovery
  26   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
  27   not produce any information in its possession or control that is subject to the
  28   confidentiality agreement with the Non-Party before a determination by the court.

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   1   Absent a court order to the contrary, the Non-Party shall bear the burden and
   2   expense of seeking protection in this court of its Protected Material.
   3   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   4         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
   5   Protected Material to any person or in any circumstance not authorized under this
   6   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
   7   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
   8   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
   9   persons to whom unauthorized disclosures were made of all the terms of this Order,
  10   and (d) request such person or persons to execute the “Acknowledgment and
  11   Agreement to Be Bound” that is attached hereto as Exhibit A.
  12   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  13   PROTECTED MATERIAL
  14         When a Producing Party gives notice to Receiving Parties that certain
  15   inadvertently produced material is subject to a claim of privilege or other protection,
  16   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
  17   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
  18   procedure may be established in an e-discovery order that provides for production
  19   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
  20   (e), insofar as the parties reach an agreement on the effect of disclosure of a
  21   communication or information covered by the attorney-client privilege or work
  22   product protection, the parties may incorporate their agreement in the stipulated
  23   protective order submitted to the court.
  24   12.   MISCELLANEOUS
  25         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  26   person to seek its modification by the Court in the future.
  27         12.2 Right to Assert Other Objections. By stipulating to the entry of this
  28   Protective Order no Party waives any right it otherwise would have to object to

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   1   disclosing or producing any information or item on any ground not addressed in this
   2   Stipulated Protective Order. Similarly, no Party waives any right to object on any
   3   ground to use in evidence of any of the material covered by this Protective Order.
   4         12.3 Filing Protected Material. A Party that seeks to file under seal any
   5   Protected Material must comply with Civil Local Rule 79-5. Protected Material
   6   may only be filed under seal pursuant to a court order authorizing the sealing of the
   7   specific Protected Material at issue. If a Party's request to file Protected Material
   8   under seal is denied by the court, then the Receiving Party may file the information
   9   in the public record unless otherwise instructed by the court.
  10   13.   FINAL DISPOSITION
  11          After the final disposition of this Action, as defined in paragraph 4, within 60
  12   days of a written request by the Designating Party, each Receiving Party must return
  13   all Protected Material to the Producing Party or destroy such material. As used in
  14   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  15   summaries, and any other format reproducing or capturing any of the Protected
  16   Material. Whether the Protected Material is returned or destroyed, the Receiving
  17   Party must submit a written certification to the Producing Party (and, if not the same
  18   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
  19   (by category, where appropriate) all the Protected Material that was returned or
  20   destroyed and (2)affirms that the Receiving Party has not retained any copies,
  21   abstracts, compilations, summaries or any other format reproducing or capturing any
  22   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
  23   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
  24   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
  25   reports, attorney work product, and consultant and expert work product, even if such
  26   materials contain Protected Material. Any such archival copies that contain or
  27   constitute Protected Material remain subject to this Protective Order as set forth in
  28   Section 4 (DURATION).

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   1   14.   Any violation of this Order may be punished by any and all appropriate
   2   measures including, without limitation, contempt proceedings and/or monetary
   3   sanctions.
   4
   5   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   6
   7   Dated: October 5, 2021           LAWRENCE BEACH ALLEN & CHOI, PC
   8
   9                                    By      /s/ Oscar A. Bustos
                                             Oscar A. Bustos1
  10
                                             Attorneys for Defendants
  11
  12                                     BLEAU FOX, PLC
  13
  14   Dated: October 5, 2021           By      /s/ Ramshin Daneshi
  15
                                             Ramshin Daneshi
                                             Attorneys for Plaintiffs
  16
  17
  18
             FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
  19
  20           
       Date: _____________________                6&+$5/(6)(,&.
                                                __________________________________
  21                                            Honorable Charles F. Eick
  22                                           United States Magistrate Judge

  23
  24
  25
  26
  27   1
         I, Oscar A. Bustos, hereby attest that all the signatories listed, and on whose behalf
  28   the filing is submitted, concur in the content of this Stipulation and have authorized
       its filing.
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   1                                        EXHIBIT A
   2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3         I, ____________________________________[print or type full name], of
   4   ________________________[print or type full address], declare under penalty of
   5   perjury that I have read in its entirety and understand the Stipulated Protective
   6   Order that was issued by the United States District Court for the Central District of
   7   California on [date] in the case of Claudette Reynolds, et al., v. James Huddleston,
   8   et al., Case No. 2:21-cv-01925-DMG-E. I agree to comply with and to be bound by
   9   all the terms of this Stipulated Protective Order and I understand and
  10   acknowledge that failure to so comply could expose me to sanctions and punishment
  11   in the nature of contempt. I solemnly promise that I will not disclose in any manner
  12   any information or item that is subject to this Stipulated Protective Order to any
  13   person or entity except in strict compliance with the provisions of this Order.
  14         I further agree to submit to the jurisdiction of the United States District Court
  15   for the Central District of California for the purpose of enforcing the terms of this
  16   Stipulated Protective Order, even if such enforcement proceedings occur after
  17   termination of this action. I hereby appoint ___________________________[print
  18   or type full name] of _______________________________________ [print or type
  19   full address and telephone number] as my California agent for service of process in
  20   connection with this action or any proceedings related to enforcement of this
  21   Stipulated Protective Order.
  22
  23   Date: ____________________________________
  24   City and State where sworn and signed: __________________________________
  25   Printed name: ___________________________________
  26
  27   Signature: ______________________________________
  28

                                              14
                                 STIPULATED PROTECTIVE ORDER
